1 U.S. 151
    1 Dall. 151
    1 L.Ed. 77
    Hollingsworthv.Hamelin
    No. ____.
    Court of Common Pleas, Philadelphia County.
    December Term, 1785
    
      1
      The defendant having absconded, a domestic attachment issued against him at the suit of the plaintiff, and the auditors, under that process, having advertised that all persons, who had demands, should send in their accounts, in a reasonable time afterwards, made a dividend among the creditors that filed their claims. Previously to issuing the domestic attachment, the defendant was indebted to the Commonwealth for duties upon a cargo imported, and having given bond to Sharp Delany (who was the collector, but not so named in the bond,) a writ was thereupon issued against him, but was returned non est inventus. Of this, however, the auditors had no notice, till the dividend above mentioned was paid. Delany now claimed full payment. The matter was referred to the opinion of the Court upon a case stated, which was argued, at an adjourned Court, on the 11th of February 1785, by the Attorney General for the Commonwealth; Cox, Ingersol and Sergeant for the creditors.
    
    
      2
      The Court unanimously decided, that, on these facts, the Commonwealth was entitled to no preference.
    
    